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            EXHIBIT 189
            REDACTED
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           RE: WPATH's Standards of care for the health of
           transgender and gender diverse people, version 8 (SOC-8)
           From:     "Saul Levin, MD" <                      >
           To:

           Cc:
           Date:     Tue, 06 Sep 2022 16:47:27 -0400

           Dear

           APA supports access to evidence-based coverage of all gender-affirming procedures which would
           help the mental well-being of gender-diverse individuals. Additionally, a statement specific to the
           guidelines from APA is in effect an endorsement and APA has a process for guideline reviews that we
           cannot circumvent.

           Saul

           Saul Levin, MD, MPA, FRCP-E, FRCPsych
           CEO & Medical Director
           American Psychiatric Association
           From:
           Se
           To                                                    Saul Levin, MD <                 >
           Cc
           Subject: Re: WPATH's Standards of care for the health of transgender and gender diverse people,
           version 8 (SOC-8)

           APA WARNING: Verify external sender before clicking on links/attachments or sharing sensitive information.




           Hi
           I have never heard back from APA or Saul (cc'd again)
           since our June email exchange
           I do know that historically, APA does not endorse
           outside groups' treatment guidelines
           However I also believe APA has signed on to some
           amicus briefs in opposition to new laws opposing gender
           affirming care--I believe those briefs do cite WPATH
           previous SOC
           Saul, any thoughts on this?




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                     BOEAL_WPATH_077694




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           On Tue, Sep 6, 2022 at 6:13 AM                                       wrote:

             Dear

             Any news forthcoming regarding the APA and whether they are willing to
             support/endorse the SOC8?

             Warmest,




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                               BOEAL_WPATH_077695




                                                     2
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             On 2022-06-11 16:57.                     wrote:

              Hi

             Mr       c'ing Saul Levin, Medical Director and CEO of the APA in this response




              On Sat, Jun 11, 2022 at 11:18 AM                                                          wrote:
                   Dear

                   I hope this email find you well!

                   I am writing to you on behalf of WPATH, as its current President.

                   After more than 4 years, we are ready to publish the next version of the Standards of Care
                   version 8 (SOC-8).

                   Aim: The overall goal of SOC-8 is to provide clinical guidance for health care professionals to
                   assist transgender and gender diverse (TGD) people with safe and effective pathways to
                   achieving lasting personal comfort with their gendered selves, in order to optimize their overall
                   physical health, psychological well-being, and self-fulfillment.

                   Methods: The SOC-8 is based on the best available science and expert professional
                   consensus in transgender health. International professionals and stakeholders were selected to
                   serve on the SOC-8 committee. Recommendation statements were developed following
                   independent systematic literature reviews, where available, background reviews and experts'
                   opinions, Grading of recommendations were based on available evidence supporting
                   interventions, a discussion of risks and harms, as well as feasibility and acceptability within
                   different contexts and country settings.

                   The reason I am writing to you is this:

                   The SOC-8 has been completed and we are going through the final (minute) edits before
                   submission for online, Open Access publication in the International Journal of Transgender
                   Health.

                   We are looking for someone (President/Executive Director/CEO, etc.) who would be willing to
                   provide a short opinion/view regarding the SOC8 on behalf of the APA (American Psychiatric
                   Association). We are not asking for an official endorsement (although that would be wonderful
                   too!), but simply a few sentences pertaining to the SOC8 on behalf of the APA.

                   As you know "Psychiatry" has a somewhat contentious historical past when it comes to the
                   care and treatment of sexual and gender minorities.




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                The SOC8 remains under embargo, and currently only ADM Rachel Levine and her
                Department (HHS/OASH) have access to the full document, but we will provide full access
                following the signing of a non-disclosure document.

                Do you know anyone I could approach and who has the authority to provide such opinion on
                behalf of the APA?

                With kind regards, and looking forward to your response,




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           Re: From the Cass review in the UK: A fascinating read
           From:
           To:
           Cc:



           Date:     Mon, 24 Oct 2022 09:15:59 -0400

           Doodle?

          =offered assistance from their communications team - maybe we can get some input from
           there. Although I don't think fighting this in the media is as important as endorsements at this point.

           Best,



           On Mon, Oct 24, 2022 at 6:49 AM                                   wrote:
            We've been trying to get a large group together, which has been quite difficult. If you have an idea
            of how to do this more efficiently then please advise.

                     will be out after this week, recovering from surgery, for up to 3 weeks.

             Sent from my iPhone


               On Oct 24, 2022, at 7:21 AM,                                                      wrote:


                Everyone,
               We need a strategy meeting together ASAP. A silo'd approach is not going to be effective.
               dirly
               l'rr     concerned that we aren't communicating and unified around this.


               Sent from my iPhone


                   On Oct 24, 2022, at 7:19 AM,                                                    wrote:


                   I wish I could be included in that discussion as well.

                   Sent from my iPhone


                     On Oct 23, 2022, at 11:57 PM,                                              wrote:


                     i am having a conversation with                 later today...




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_082862




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                  Kindly




                    On Oct 23, 2022, at 9:13 PM,
                    wrote:



                   MI I agree with you re: urgency. I believe this should be among the most
                   pressing priorities on our plates and I believe a planning meeting is needed.


                    On Sun, Oct 23, 2022 at 2:38 PM                                         wrote:
                     Use all avenues

                      On Sun, Oct 23, 2022 at 1:11 PM
                      wrote:
                        I also have contacts at the American Psychologcial Association if that's
                        helpful.

                           Sent from my iPad


                             On Oct 23, 2022, at 2:10 PM,                                     wrote:



                             I think we need          to reach out to Amer Psychiatric - I think he is
                             still leading the tas   orce - that I have been on with -

                             In terms of Amer Psych -=        would probably know.

                             I continue to feel the urgency of a planning meeting to get the
                             endorsements (if we can). And AAP is in my opinion the first stop.

                           ION
                             On Sun, Oct 23, 2022 at 12:29 PM
                                                 wrote:
                              I also share tremendous worries, especially as the midterm
                              elections in the US are starting to look grim. I have no idea if we
                              have reached out to the American Psychological Association
                              (APA) for endorsement as well- anyone know and I can I help in
                              this area?

                               Sent from my iPad




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_082863




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                           On Oct 23, 2022, at 1:15 PM
                                             wrote:




                           Let us give all the support you need to work with that
                           organization. But obviously we need you to lead the way.
                           It is harder to mandate that system in a fragmented health
                           care system - but certainly some systems, hospitals, states
                           (many) will adopt that approach.




                           On Sun, Oct 23, 2022 at 11:49 AM
                                                           wrote:
                             This is so devastating. I'm so fearful that this is the
                             direction we are going to find ourselves in here in
                             the U.S. if we aren't careful every step of the
                             way. It is so crucial that we can secure mainstream
                             professional associations endorsement of the
                             SOC8 as soon as possible. I just got back from
                             AACAP where I had spontaneous introductions with
                             people in high level positions (including the
                             President and CEO of AAP and President of
                             AACAP), and really do hope there's a possibility of
                             securing those endorsements.




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                             From:

                             Date: Sunday, October 23, 2022 at 12:41 PM
                             To:
                             Cc:




                             Subject: Re: From the Cass review in the UK: A
                             fascinating read

                             As I have stated on a number of occasions,
                             particularly in the EC meetings, since the Bell vs
                             Tavistock judiciary ruling, the National Health
                             Service (NHS) has stopped providing any gender
                             affirming medical treatment (hormones and
                             surgery) for people under the age of 18.

                             Technically, adult trans health services, like ours
                             in Nottingham, and London, etcetera, can
                             prescribe blockers and hormones for young
                             people aged 17 and older, but the waiting list now
                             exceeds 2 years or more for all transgender
                             health clinics, so in reality ALL young people do
                             not have access to care in England. How many
                             people are we talking about? Probably
                             thousands

                            -is     supposed to head a team commissioned by
                             NHS England (which finances all secondary care)
                             looking at all the Tavistock referrals that are
                             waiting for an appointment. My understanding is
                             that there are a couple of thousand referrals

                             So, the situation is more than dire for young
                             trans people and their families in the UK.




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                             Error! Filename not specified.Error! Filename not
                             specified.Error! Filename not specified.Error!
                             Filename not specified.



                             On 2022-10-23 16:37,                   wrote:

                                  it would certainly be devastating for those
                              unable to access care

                                      is this your take as well? How many
                              would potentially be affected?

                              Kindly




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                               On Oct 23, 2022, at 5:07 PM,
                                               wrote:

                               Well I read this as very much in keeping with
                               the principles of WPATH SOC without
                               acknowledgement and while distribution of care
                               regionally is a good idea - staffing and having
                               this restricted to a research protocol - goes in
                               the direction of Sweden. While this will insure
                               good outcome studies - I fear that most
                               children and adolescents will go untreated. And
                               if they go outside of the protocol, they will not
                               be given service forcing people into the
                               underground.



                               I would say that this will have a chilling effect
                               across the world.



                               Maybe I am not reading this exactly but that is
                               my read.



                               Will WPATH, AAP, Endocrine Society (our few
                               endorsers) have a response?



                              •




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           Re: Re: the imminent release of the SOC8 - and please be
           so kind as to give us your support or endorsement
           From:      Asa Radix <a
           To:        walterbouman
           Cc:        WPATH EC 2022 <wpathec2022@wpath.org>,
           Date:      Tue, 14 Jun 2022 16:51:52 -0400

           I don't think that they endorse any guidelines. The best people to reach out to would be orgs such as
           the American College of Physicians. The AMA has no power in the USA except lobbying for higher
           reimbursement through congress.

           On Tue, Jun 14, 2022, 4:32 PM Walter Bouman <                                        rote:

             Dear Friends,

             I just wanted to share this email trail with you.

             It annoyed the hell out of me, and I had to stop my impulsivity to not respond with a very very rude
             email response to the AMA and its current custodians (probably some white cisgender
             heterosexual hillbillies from nowhere      (please delete this quote)

             They can do SO MUCH BETTER THAN THIS AND CLEARLY THEY HAVE THOUGHT ABOUT
             THIS ISSUE A PRIORI - given the very very swift response. Not even wanting to read the
             SOC8

             In the context of the previous AMA responses and official statements regarding TGD healthcare
             (which were quite in keeping with modern medicine and medical ethics) this is simply not good
             enough and I would very much like to spend a little bit of time together tomorrow to give a
             response to them in a way that (like AASECT did) they cannot simply ignore

             It is time to stand up and fight for what we believe in

             Interestingly, the response to asking colleagues around the world (and of course the world is far far
             more bigger than the USA) for their support for the SOC8 has been overwhelmingly positive,
             so     let's stick to finding confirmation that our colleagues in the USA are in agreement with the
             values we profess.

             At the end of the day, we all committed ourself to the same Hippocratic Oath.

             Speak tomorrow,

             Warmest,

             Walter



             Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

             Consultant in Trans Health/Honorary Professor School of Medicine, University of Nottingham, UK

             President World Professional Association for Transgender Health (WPATH)

             Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)




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            Nottingham National Centre for Transgender Health




                     Original Message

                         Re: the imminent release of the SOC8 - and please be so kind as to give us your support
            Subject:     or endorsement
            Date:        2022-06-13 22:11
            From:
                                                                     , Walter Bouman
             To:
             Copy:



             Nice response....thanks




            Please respect the confidentiality of this email




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_105495


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            From:
            Date: Monday, June 13, 2022 at 4:04 PM
            To: Walter Bouman
            Cc

            Subject: RE: the imminent release of the SOC8 - and please be so kind as to give
            us your support or endorsement




            Thank you for your outreach to the American Medical Association (AMA);
                     asked me to reply on their behalf While we appreciate your efforts on the SOC-8. the
            AMA does not endorse or support standards of care--that falls outside of our expertise. Thus, we
            are unable to respond affirmatively to your request, but wish you the best in your efforts to assist
            transgender and gender diverse people.



             Sincerely,




            From: Walter Bouman
            Se
            To:

            Cc:
            Subject: the imminent release of the SOC8 - and please be so kind as to give us your
            support or endorsement




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             [Warning External Email]

            This email is meant to be read by

            Please please do re-direct this email to your President and CEO as it is important!!

            Dear Colleagues,

            I am writing to you as President and CEO of the American Medical Association on
            behalf of the World Professional Association for Transgender Health (WPATH), as its
            President.

             After more than 4 years, we are ready to publish the next version of the WPATH
             Standards of Care version 8 (SOC-8).

             Aim: The overall goal of SOC-8 is to provide clinical guidance for health care
             professionals to assist transgender and gender diverse (TGD) people with safe and
             effective pathways to achieving lasting personal comfort with their gendered selves, in
             order to optimize their overall physical health, psychological well-being, and self-
             fulfillment.

             Methods: The SOC-8 is based on the best available science and expert professional
             consensus in transgender health. International professionals and stakeholders were
             selected to serve on the SOC-8 committee. Recommendation statements were
             developed following independent systematic literature reviews, where available,
             background reviews and experts' opinions, Grading of recommendations were based
             on available evidence supporting interventions, a discussion of risks and harms, as
             well as feasibility and acceptability within different contexts and country settings.

            The reason I am writing to you is this:

             We, as WPATH would be most grateful if the AMA would be willing to support or
             endorse the SOC-8.

            If you agree to this, we will send you a link to the SOC8 (which is currently under
            embargo, and currently only ADM Dr Rachel Levine and her Department (HHS/OASH)
            in the US have access to the full document) and we will provide access following the
            signing of a non-disclosure document.

            Please let me know whether you are willing to do this. There is no hard timeline for
            this, but something in writing before the 1st August 2022 would be most appreciated.

            I am - of course - always willing to explain our request in more detail, both via email
            or via an online meeting at your convenience.

             With kind regards, and looking forward to your response, to better the lives of trans
             and gender diverse people globally,

             Walter




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            Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

            Consultant in Trans Health/Honorary Professor School of Medicine, University of
            Nottingham, UK

            President World Professional Association for Transgender Health (WPATH)

            Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 =
            5.333)

            Nottingham National Centre for Transgender Health




           AMA                                               .,3
                                                            17 YEARS

           AMA
           AMA

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           Re: [External] RE: Re: the imminent release of the SOC8 -
           and please be so kind as to give us your support or
           endorsement
           From:    Dr. Marci Bowers <                        >
           To:
           Cc:


           Date:    Tue, 14 Jun 2022 18:59:35 -0400

           Yes,
           Your letter was very appropriate and gracious. Cowardice is nothing new in the medical field but also
           glad I never joined the AMA.

           Kindly

           Marci Bowers MD
           WPATH President-elect
           Trevor Project Board of Directors




           Standing tall in times of darkness


             On Jun 14, 2022, at 11:04 PM,                                             rote:


             Hi'
             Don't feel bad. The AMA doesn't usually endorse things. However, I understand there is a
             movement under way there to pass some sort of anti discrimination statement against trans
              eo le. I don't have the full details but I heard it's months away.


             Sent from my iPhone


               On Jun 14, 2022, at 5:53 PM,                                  rote:




               And only a small percentage of physicians belong-I think it is somewhere around 13% of US
               physicians are members of the AMA...

               From
               Sent: Tuesday, June 14, 2022 3:52 PM
               To:
               Cc: WPATH EC 2022 <wpathec2022@wpath.org>;




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                                                                                                      BOEAL_WPATH_129118


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              Subject: Re: Re: the imminent release of the SOC8 - and please be so kind as to give us
              your support or endorsement

              I don't think that they endorse any guidelines. The best people to reach out to would be
              orgs such as the American College of Physicians. The AMA has no power in the USA except
              lobbying for higher reimbursement through congress.

              On Tue, Jun 14, 2022, 4:32 PM                                                   wrote:

                Dear Friends,

                I just wanted to share this email trail with you.

                It annoyed the hell out of me, and I had to stop my impulsivity to not respond
                with a very very rude email response to the AMA and its current custodians
                (probably some white cisgender heterosexual hillbillies from nowhere
                (please delete this quote)

                They can do SO MUCH BETTER THAN THIS AND CLEARLY THEY HAVE
                THOUGHT ABOUT THIS ISSUE A PRIORI - given the very very swift response.
                Not even wanting to read the SOC8

                In the context of the previous AMA responses and official statements
                regarding TGD healthcare (which were quite in keeping with modern medicine
                and medical ethics) this is simply not good enough and I would very much like
                to spend a little bit of time together tomorrow to give a response to them in a
                way that (like AASECT did) they cannot simply ignore

                It is time to stand up and fight for what we believe in

                Interestingly, the response to asking colleagues around the world (and of
                course the world is far far more bigger than the USA) for their support for the
                SOC8 has been overwhelmingly positive, so        let's stick to finding
                confirmation that our colleagues in the USA are in agreement with the values
                we profess.

                At the end of the day, we all committed ourself to the same Hippocratic Oath.

                Speak tomorrow,

                Warmest,




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                                                                                                   BOEAL WPATH 129119

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                       Original Message

                Subject:Re: the imminent release of the SOC8 - and please be so kind as to give us your
                        support or endorsement
                   Date:2022-06-13 22:11
                  From:
                     To:

                  Co    :



                Nice response....thanks
                     response....thanks




                Please respect the confidentiality of this email




                From:
                Date: Monday, June 13, 2022 at 4:04 PM
                To:




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       BOEAL WPATH 129120
                                                                                                 BOEAL_WPATH_129120


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                Cc:

                Subject: RE: the imminent release of the SOC8 - and please be so kind as to give us
                your support or endorsement




                Thank ou for your outreach to the American Medical Association (AMA)
                              asked me to reply on their behalf. While we appreciate your efforts on the
                SOC-8, the AMA does not endorse or support standards of care--that falls outside of our
                expertise. Thus, we are unable to respond affirmatively to your request, but wish you the
                best in your efforts to assist transqender
                                               transgender and gender diverse people.



                Sincerely,




                AMA membership: Join or renew todayl
                                              today)




                From
                Sent: Monday, June 13, 2022 3:33 PM
                To:

                Cc:
                Subject: the imminent release of the SOC8 - and please be so kind as to give us your
                support or endorsement



                [Warning External Email]

                This email is meant to be read by




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                                                                                                    BOEAL_WPATH_129121


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                Please please do re-direct this email to your President and CEO as it is important!!

                Dear Colleagues,

                I am writing to you as President and CEO of the American Medical Association on behalf
                of the World Professional Association for Transgender Health (WPATH), as its President.

                After more than 4 years, we are ready to publish the next version of the WPATH
                Standards of Care version 8 (SOC-8).

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                consensus in transgender health. International professionals and stakeholders were
                selected to serve on the SOC-8 committee. Recommendation statements were developed
                following independent systematic literature reviews, where available, background reviews
                and experts' opinions, Grading of recommendations were based on available evidence
                supporting interventions, a discussion of risks and harms, as well as feasibility and
                acceptability within different contexts and country settings.

                The reason I am writing to you is this:

                We, as WPATH would be most grateful if the AMA would be willing to support or
                endorse the SOC-8.

                If you agree to this, we will send               C8 (which is currently under
                embargo, and currently only                      and her Department (HHS/OASH) in
                the US have access to the full document an we wi I provide access following the signing
                of a non-disclosure document.

                Please let me know whether you are willing to do this. There is no hard timeline for this,
                but something in writing before the 1st August 2022 would be most appreciated.

                I am - of course - always willing to explain our request in more detail, both via email or via
                an online meeting at your convenience.

                With kind regards, and looking forward to your response, to better the lives of trans and
                gender diverse people globally,




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   1                  WPATH Board of Directors Meeting Minutes
   2                         September 20, 2022; 11:00am ET
   3             Montreal, Quebec, Canada Doubletree Hilton Montreal
   4
   5              Partici •ants
                          • ants                  Marci Bowers
   6
   7
   8
   9
  10              Staff:
  11
  12      I.      Welcome, Call Meeting to Order at 11:08 am Eastern Time.
  13
  14              New Item — No New Items.
  15
  16      II.     Introductions and Feedback on Conference — Marci asked the group to go around
  17              and introduce themselves and welcome the new members, she also asked folks to
  18              weigh in on the symposium.
  19
  20      III.    SOC8 Rollout -—                 confirmed that now that SOC8 is published, we will
  21              focus on translations and endorsements.
  22
  23      IV.     TRAPS Group Action (Opening Session) — The group discussed the incident at
  24              the opening session, how it was handled, the call that was scheduled by
  25                         to read through their demands. The group has had trouble with CPATH,  PATH,
  26              are not clear of our role and power/limits. The group discussed that we need a clear
  27              policy in place for staff, volunteers, guests, hotel, hotel security need to follow for
  28              future symposium.
  29
  30      V
          V.      2024 Symposium -— Cities for Member Vote — The group discussed many locales
  31              for the symposium in 2024; the final selections to go to membership for vote are;
  32              Cape Town, South Africa; Chennai, India; Lisbon, Portugal; Mexico City, Mexico.
  33
  34      VI.     Meeting was moved and approved to adjourn at 1:18 pm Eastern Time.
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